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                                UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF GEORGIA
                                        ATLANTA DIVISION

 IN RE:                                              )          CASE NO. 09-61855-BEM
                                                     )
 TODD ANTHONY SHAW,                                  )          CHAPTER 7
                                                     )
          Debtor.                                    )
                                                     )

               MOTION FOR EXAMINATION OF AND DOCUMENT PRODUCTION
                BY SONY MUSIC ENTERTAINMENT UNDER RULE 2004 OF THE
                     FEDERAL RULES OF BANKRUPTCY PROCEDURE

          COMES NOW, S. Gregory Hays, as Chapter 7 Trustee (“Trustee”) for the bankruptcy

 estate of Todd Anthony Shaw (“Debtor”), by and through undersigned counsel, and files this

 Motion for Examination of and Document Production by Sony Music Entertainment under Rule

 2004 of the Federal Rules of Bankruptcy Procedure (the “Motion”), seeking an Order authorizing

 the examination of Sony Music Entertainment (“Sony”) under Rule 2004 of the Federal Rules of

 Bankruptcy Procedure, and in support thereof respectfully shows this Court as follows:

                                         Jurisdiction and Venue

          1.        This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This is

 a core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue is proper pursuant to 28 U.S.C. §§

 1408 and 1409(a).

                                               Background

                                          a. General Background

          2.        On January 26, 2009 (the “Petition Date”), Debtor initiated this case by filing a

 voluntary petition for relief under Chapter 7 of Title 11 of the United States Code (the

 “Bankruptcy Code”).




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          3.   Trustee was thereafter appointed and remains the duly acting Chapter 7 trustee in

 this case.

          4.   At the commencement of the Bankruptcy Case, a bankruptcy estate was created

 pursuant to 11 U.S.C. § 541(a) (the “Bankruptcy Estate”), and that Bankruptcy Estate includes

 all Debtor’s legal or equitable interests in property as of the commencement of the bankruptcy

 case and any interest in property that the estate acquires after commencement of the bankruptcy

 case. 11 U.S.C. § 541(a)(1) and (7) (2009). Trustee is the sole representative of the Bankruptcy

 Estate. 11 U.S.C. § 323(a) (2009).

          5.   Debtor filed this case as a no-asset case. [Doc. No. 1 at Page 1].

          6.   Nevertheless, through the efforts of Trustee and his professionals, Trustee has

 recovered over $200,000.00 for the benefit of the Bankruptcy Estate from, among other things,

 certain music royalties to which Debtor, and thus the Bankruptcy Estate, is entitled. See [Doc.

 No. 62].

                                b. Source and Payment of Royalties

          7.   More specifically, the above mentioned funds arose out of a stipulation

 (“Stipulation”) between Trustee and Zomba Recording LLC (“Zomba”), which was approved

 by order [Doc. No. 62] of the Court on November 24, 2009.

          8.   This Stipulation resolved a dispute between Trustee and Zomba related to

 payments from Zomba Enterprises, Inc. (“ZEI”) that were owed to the Bankruptcy Estate but in

 which Zomba claimed an alleged security interest.

          9.   As a result of the Stipulation, Trustee is to receive 20% of royalty payments owed

 by ZEI, and Zomba is to receive 80% of these royalty payments, until the alleged loan owed to




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 Zomba is paid in full. Following satisfaction of this debt, Trustee will receive 100% of the

 royalty payments.

          10.   Upon information and belief, sometime after entry of the Stipulation and the

 Court’s order [Doc. No. 62] approving the same, Zomba transferred its loan rights to Sony, and

 ZEI transferred its interests in the works that generate the royalties to Universal Music Group,

 Inc. (“Universal”). Alternatively, rather than an asset purchase, it may be the case that Sony

 purchased Zomba, or that Universal purchased ZEI.

                                c. Prior Requests by Trustee to Sony

          11.   Trustee has informally made requests to Sony for an accounting of the total

 payments made by Universal (or ZEI) to Sony (or Zomba), including any and all payments made

 by their predecessors. Sony has responded with an informal accounting in this regard.

                                         Relief Requested

          12.   To assist Trustee in ascertaining the amount of the loan that remains outstanding

 to Sony (or Zomba) and the marketability of the royalties, Trustee requests that Sony’s

 designated representative appear at an examination to commence on September 28, 2018, at 1:00

 p.m., or at such other mutually agreeable date and time, at a mutually agreeable place, and

 continue from day to day thereafter until complete.

          13.   Trustee also seeks to have Sony produce, on or before September 7, 2018, at

 11:00 a.m. at the law offices of Arnall Golden Gregory LLP at 171 17th Street, NW, Suite 2100,

 Atlanta, Georgia 30363, or some other mutually agreeable time and place, for review by counsel

 for Trustee, any and all records and items listed on Exhibit “A,” attached hereto and incorporated

 herein by reference.




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                                          Basis for Relief

          14.    Rule 2004 provides that any party in interest, including a creditor, may examine

 any other entity. Fed. R. Bankr. P. 2004.

          15.    Because Trustee is a party in interest, it is well within the Court’s discretion to

 grant the relief requested in this Motion. Indeed, such an examination is necessary for Trustee to

 evaluate fully the extent and balance of the claim of Sony and the marketability of the cash-flow

 arising from the royalties being paid by Universal.

          WHEREFORE, Trustee respectfully requests that this Court:

          (a)    enter an order authorizing Trustee to conduct the examination of Sony’s

 designated representative and directing Sony to produce the documents and items requested

 herein at a mutually agreeable time and place; and

          (b)    grant such other and further relief as the Court may deem just and proper.

          Respectfully submitted this 10th day of August, 2018.

                                               ARNALL GOLDEN GREGORY LLP
                                               Attorneys for Trustee

                                               By:/s/ Michael J. Bargar
 171 17th Street, NW, Suite 2100                  Michael J. Bargar
 Atlanta, Georgia 30363                           Georgia Bar No. 645709
 404-873-8500 (telephone)                         michael.bargar@agg.com




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                                              EXHIBIT “A”

                                                Definitions
              A. As used herein, the term “document” is intended to have the broadest permissible
                 meaning under the Federal Rules of Civil Procedure and shall mean any written,
                 printed, recorded, taped, electromagnetically recorded or encoded, electronically
                 stored, graphic or other matter of every type and description that is or has been in
                 the possession, custody, or control of you or any of your agents and attorneys, or of
                 which you have knowledge, and shall include without limitation, the following:
                 letters, correspondence, affidavits, declarations, statements, books, articles, reprints,
                 resolutions,    minutes,     communications,       messages,      e-mails,    electronic
                 communications, electronically stored information, notes, loan documents,
                 collateral documents, stenographic or handwritten notes, memoranda, diaries,
                 contracts, subcontracts, bids, worksheets, drafts, agreements, records, resumes,
                 invoices, receipts, bills, cancelled checks, financial statements, audit reports, tax
                 returns, calendars, schedules, summaries, studies, calculations, estimates, diagrams,
                 sketches, drawings, plans, photographs, tapes, videotapes, movies, recordings,
                 transcriptions, work orders, computer print-outs, computer disks, data processing
                 cards, data storage cards, and the like; and where originals of such documents are
                 not available or are not in your possession, custody or control, every copy of every
                 such document; and every copy of every such document where such copy is not an
                 identical copy of the original or where such copy contains any commentary or
                 notation whatsoever which does not appear on the original.


              B. As used herein, the term “Debtor” shall refer to Todd Anthony Shaw, his
                 authorized agents, attorneys, representatives, and any other person that is or has
                 ever acted for or on behalf of them.


              C. As used herein, the term “Petition Date” shall refer to January 26, 2009.




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              D. As used herein, the term “Universal” shall refer to Universal Music Group, Inc., its
                 predecessors in interest, and its subsidiaries.


              E. As used herein, the term “Sony” shall refer to Sony Music Entertainment, its
                 predecessors in interest, and its subsidiaries.


              F. As used herein, the term “Works” shall refer to any musical composition created by
                 Debtor prior to the Petition Date.


              G. As used herein, the term “Music Publishing Royalties” shall refer to any music
                 publishing royalties that arose from, as a result of, or out of the Works.


              H. As used herein, the term “Zomba” shall refer to Zomba Recording LLC, its
                 successors in interest, and its owners.


              I. As used herein, the term “ZEI” shall refer to Zomba Enterprises, Inc., its successors
                 in interest, and its owners.

                                   Document and Information Request

     1) Copies of any document which reflects any payments that have been made by Universal
        to Sony or Zomba with regard to the Works or Music Publishing Royalties since the
        Petition Date.

     2) An accounting of all payments that have been made by Universal to Sony or Zomba with
        regard to the Works or Music Publishing Royalties since the Petition Date.

     3) Copies of any document which reflects any payments that have been made by ZEI to
        Sony or Zomba with regard to the Works or Music Publishing Royalties since the Petition
        Date.

     4) An accounting of all payments that have been made by ZEI to Sony or Zomba with
        regard to the Works or Music Publishing Royalties since the Petition Date.




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                                  CERTIFICATE OF SERVICE

          I hereby certify that I have this day served the following parties with a true and correct

 copy of the foregoing Motion for Examination of and Document Production by Sony Music

 Entertainment under Rule 2004 of the Federal Rules of Bankruptcy Procedure by first class United

 States Mail to the following entities at the addresses stated:

 Office of the United States Trustee                   Joan Hyun Kyung Cho
 362 Richard B. Russell Building                       Universal Music Group, Inc.
 75 Ted Turner Drive, SW                               2220 Colorado Avenue
 Atlanta, GA 30303                                     Santa Monica, CA 90404

 S. Gregory Hays                                       The Corporation Trust Company
 Hays Financial Consulting, LLC                        Re: Universal Music Group, Inc.
 2964 Peachtree Rd, NW, Suite 555                      Corporation Trust Center
 Atlanta, GA 30305                                     1209 Orange Street
                                                       Wilmington, DE 19801
 Julie B. Shapiro
 Director, Business and Legal Affairs                  Corporation Service Company
 Sony Music Entertainment                              Re: Sony Music Entertainment
 25 Madison Avenue, 22nd Floor                         251 Little Falls Drive
 New York, NY 10010-8601                               Wilmington, DE 19808

                                                       Todd Anthony Shaw
                                                       1010 Forest Overlook Drive
                                                       Atlanta, GA 30331




          This 10th day of August, 2018.



                                                       /s/ Michael J. Bargar
                                                       Michael J. Bargar
                                                       Georgia Bar No. 645709




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